             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     STATESVILLE DIVISION
                        5:22-cv-00156-MR

AUSTIN REID PITTMAN,                           )
                                               )
                  Plaintiff,                   )
                                               )                       ORDER
v.                                             )
                                               )
JEFFREY CLAWSON,                               )
                                               )
                 Defendant.                    )
__________________________________             )

     In light of the parties’ reports, which were filed on November 27, 2024

and December 17, 2024 respectively, the judicial settlement conference

remains in recess and the parties are DIRECTED TO FILE a joint report

regarding the status of their settlement discussions, as described by the

undersigned’s order of November 14, 2024, on or before January 3, 2025.

     It is so ordered.
                          Signed: December 17, 2024




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